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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

   ELIZABETH SINES, SETH WISPELWEY,
   MARISSA BLAIR, TYLER MAGILL, APRIL
   MUNIZ, HANNAH PEARCE, MARCUS
   MARTIN, NATALIE ROMERO, CHELSEA
   ALVARADO, and JOHN DOE,

                          Plaintiffs,
   v.

   JASON KESSLER, RICHARD SPENCER,
   CHRISTOPHER CANTWELL, JAMES
   ALEX FIELDS, JR., VANGUARD
   AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
   MOONBASE HOLDINGS, LLC, ROBERT
   “AZZMADOR” RAY, NATHAN DAMIGO,
   ELLIOT KLINE a/k/a/ ELI MOSLEY,
   IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
   HEIMBACH, MATTHEW PARROTT a/k/a
   DAVID MATTHEW PARROTT,
   TRADITIONALIST WORKER PARTY,
   MICHAEL HILL, MICHAEL TUBBS,
   LEAGUE OF THE SOUTH, JEFF SCHOEP,
   NATIONAL SOCIALIST MOVEMENT,
   NATIONALIST FRONT, AUGUSTUS SOL
   INVICTUS, FRATERNAL ORDER OF THE
   ALT-KNIGHTS, MICHAEL “ENOCH”
   PEINOVICH, LOYAL WHITE KNIGHTS OF
   THE KU KLUX KLAN, and EAST COAST
   KNIGHTS OF THE KU KLUX KLAN a/k/a
   EAST COAST KNIGHTS OF THE TRUE
   INVISIBLE EMPIRE,

                          Defendants.



        [PROPOSED] ORDER SEALING CERTAIN EXHIBITS TO PLAINTIFFS’ MOTION
                   FOR SANCTIONS AGAINST VANGUARD AMERICA
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            WHEREAS, on April 16, 2019, the Court ordered that Plaintiffs “file complete and

   unredacted copies” of certain exhibits that Plaintiffs had referenced in their Motion for Sanctions

   Against Vanguard America” and further stated that “[a]ll documents may be filed under seal in

   accordance with Local Rule 9.” (ECF No. 467)

            WHEREAS, the Plaintiffs have provided unredacted copies of those exhibits to the Court

   and moved, pursuant to Local Rule 9, for those exhibits to be sealed.

            IT IS HEREBY ORDERED, that Exhibits 12, 26, and 33 to Plaintiffs’ Motion for

   Sanctions Against Vanguard America (ECF No. 465) are hereby sealed pursuant to Local Rule 9.



   Dated:


   SO ORDERED


                                                            Hon. Joel C. Hoppe, M.J.
